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                          UNITED STATES BANKRUPTCY COURT
                               DISTRICT OF DELAWARE

IN RE:                                           :   Chapter 11
                                                 :
MATTRESS FIRM, INC. et al.,                      :   Bankr. No. 18-12241(CSS)
                                                 :   (Jointly Administered)
                       Debtors.                  :
                                                 :   Objection Deadline: November 7, 2018 at 4:00 p.m.
                                                 :   Hearing Date: November 16, 2018
                                                     Ref. D.E. No. 22
                                                 :

              JOINDER OF MF OHIO LLC AND PLATO PAVLATOS
    TO JOINT PREPACKAGED CHAPTER 11 PLAN OF REORGANIZATION FOR
                 MATTRESS FIRM, INC. AND ITS AFFILIATES

         MF Ohio LLC and Plato Pavlatos (together, the “Joining Landlords”), by and through

undersigned counsel, hereby joins in the objections of landlord creditors to Debtors’ Joint

Prepackaged Chapter 11 Plan of Reorganization for Mattress Firm, Inc. and its Debtor Affiliates

(the “Plan”), and request an extension of such relief to the Joining Landlords.

                        JOINDER AND RESERVATION OF RIGHTS

         1.    The Joining Landlords hereby join in, adopt and incorporate by reference the

points, authorities and arguments advanced in the objections by various other landlords of the

Debtors which have filed objections to the Plan, as applicable, for the reasons stated therein and

requests and extension of the relief requested therein.

         2.    The Joining Landlords reserve the right to amend or supplement this joinder and

request and seek such other and further relief as may be necessary or appropriate.




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        WHEREFORE, Joining Landlords respectfully request that the Court grant the relief

requested herein, and grant such other and further relief as the Court deems just and proper.


Dated: November 7, 2018                      /s/ Julie M. Murphy
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